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                      UNITED STATES DISTRICT COURT
            WESTERN DISTRICT OF TENNESSEE
                  WESTERN DIVISION


JOHN G. MONTAGUE and his wife,
GWENDOLYN W. MONTAGUE


                                         JUDGMENT IN A CIVIL CASE
v.                                       Case No. 09-2452

PACIFIC INDEMNITY COMPANY
and CHUBB GROUP OF INSURANCE
COMPANIES



DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED that in accordance with the Consent
Order of Dismissal with Prejudice entered on October 27, 2009,
this cause is hereby dismissed.


APPROVED:

s/Bernice B. Donald
UNITED STATES DISTRICT COURT

DATE: 10/27/2009                                  THOMAS M. GOULD
                                                Clerk of Court


                                                s/Taffy Elchlepp
                                         (By)    Deputy Clerk
